                    IN THE SUPREME COURT OF NORTH CAROLINA

                                        2021-NCSC-62

                                          No. 76A20

                                      Filed 11 June 2021

     IN THE MATTER OF: M.J.R.B., Z.M.B., N.N.T.B., S.B.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) and on writ of certiorari

     pursuant to N.C.G.S. § 7A-32(b) to review orders entered on 12 November 2019 by

     Judge Karen Alexander in District Court, Craven County. Heard in the Supreme

     Court on 17 February 2021.


           Peter M. Wood for respondent-appellant-father.

           Mercedes O. Chut for respondent-appellant-mother.

           Bernard Bush for petitioner-appellee Craven County Department of Social
           Services.

           J. Mitchell Armbruster for respondent-appellee guardian ad litem.


           BERGER, Justice.


¶1         On August 23, 2016, the Craven County Department of Social Services (“DSS”)

     filed petitions alleging that M.J.R.B., Z.M.B., and N.N.T.B. (collectively, the “older

     children”) were neglected and dependent juveniles. DSS alleged, among other things,

     that on August 15, 2016, three-month-old M.J.R.B. tested positive for cocaine and

     THC. The trial court ordered that the children be placed in DSS custody, and each

     parent was appointed a guardian ad litem (“GAL”) due to their mental health issues.
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     On February 27, 2017, the trial court entered an order which adjudicated the older

     children as neglected and dependent.

¶2         On November 8, 2017, respondent-mother gave birth to S.B.            S.B. tested

     positive for cocaine at birth, and DSS filed a petition alleging that S.B. was a

     dependent juvenile. S.B. was placed in nonsecure custody, and on February 20, 2018,

     the trial court entered an order adjudicating S.B. a dependent juvenile because the

     older children were in DSS custody and respondent-parents had made no progress

     toward reunification with them. In addition, respondent-parents had not complied

     with mental health treatment recommendations, and respondent-mother admitted to

     consuming cocaine while she was pregnant with S.B.

¶3         After a hearing on July 20, 2018, the trial court ceased reunification efforts

     and changed the children’s permanent plan to adoption. On August 2, 2018, DSS

     filed petitions to terminate respondent-parents’ parental rights in the minor children.

     Before the hearing began on July 2, 2019, respondent-father requested that his

     counsel and GAL be fired. In addition, respondent-father requested that the hearing

     be suspended for two hours so he could take his medication. Respondent-father made

     both of these requests outside of the presence of his attorney and GAL. The court

     denied both requests. Prior to the start of the hearing, the attorney and GAL met

     with respondent-father, and no further motions were made.

¶4         On November 12, 2019, the court entered orders terminating respondent-
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     parents’ parental rights to the older children pursuant to N.C.G.S. § 7B-1111(a)(1),

     (2), and (6). Respondent-parents’ parental rights to S.B. were terminated pursuant

     to N.C.G.S. § 7B-1111(a)(2) and (6). Respondent-parents appeal.

                                  I.   Standard of Review

¶5                       We review a district court’s adjudication under
                  N.C.G.S. § 7B-1111(a) to determine whether the findings
                  are supported by clear, cogent and convincing evidence and
                  the findings support the conclusions of law. Unchallenged
                  findings of fact are deemed supported by competent
                  evidence and are binding on appeal. Moreover, we review
                  only those findings needed to sustain the trial court’s
                  adjudication. The issue of whether a trial court’s findings
                  of fact support its conclusions of law is reviewed de novo.
                  However, an adjudication of any single ground for
                  terminating a parent's rights under N.C.G.S. § 7B-1111(a)
                  will suffice to support a termination order.

     In re J.S., 374 N.C. 811, 814–15, 845 S.E.2d 66, 70–71 (2020) (cleaned up).
      II.   Respondent-Father’s Motion to Substitute Counsel and Motion to
                                      Continue

¶6          Respondent-father argues the trial court erred by failing to sufficiently inquire

     about his request for new counsel and a new GAL before the termination hearing

     began when neither his attorney nor his GAL were present. Respondent-father

     further alleges that the trial court erred when it declined to postpone the hearing for

     two hours so respondent-father could take his medication. We disagree.

     A. Motion to Substitute Counsel

¶7          Parents in a termination of parental rights proceeding have “the right to

     counsel, and to appointed counsel in cases of indigency, unless the parent waives the
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     right.” In re K.M.W., 376 N.C. 195, 208–09, 851 S.E.2d 849, 859 (2020). In addition,

     “the court may appoint a guardian ad litem for a parent who is incompetent in

     accordance with G.S. 1A-1, Rule 17.” N.C.G.S. § 7B-1101.1(c) (2019). “A parent

     qualifying for appointed counsel may be permitted to proceed without the assistance

     of counsel only after the court examines the parent and makes findings of fact

     sufficient to show that the waiver is knowing and voluntary.” N.C.G.S. § 7B-602(a1)

     (2019).

¶8         Here, the trial court made the following relevant findings related to

     respondent-father’s request:

                 Prior to the hearing in this matter, the Respondent Father
                 made a motion to dismiss his attorney. The court finds good
                 cause to deny this motion. Let it also be noted that both
                 respondents appeared highly anxious at the start of the
                 proceedings. This court noted their anxiety and frustration
                 and privately requested the attending court bailiffs to show
                 some flexibility with court decorum and not to immediately
                 apprehend and or interrupt the respondents if there were
                 angry outbursts from the respondents. Also, this court
                 denied the respondents to discharge their counsel but told
                 them they would be allowed to ask additional questions of
                 witnesses personally if their attorney did not ask a
                 question they wanted. Moving forward, the respondents
                 appeared satisfied and comfortable with this ruling.

¶9         Respondent-father’s motions were made prior to the termination hearing and

     outside the presence of his attorney and GAL.            The trial court accommodated

     respondent-father with relaxed courtroom rules during this time. After considering

     respondent-father’s request, the trial court found good cause to deny respondent-
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       father’s motion. Once respondent-father’s attorney and GAL arrived at the hearing,

       they conferred with respondent-father and no further motions were made by

       respondent-father or his attorney.      Respondent-father presented no additional

       information, at trial or on appeal, to make a requisite showing of “good cause” to

       substitute counsel.

¶ 10         Because respondent-father made these motions prior to the hearing and

       outside the presence of counsel and his GAL, failed to present good cause to warrant

       removal of his attorney at the trial court, and did not renew these motions or

       otherwise address the matter when counsel arrived for the hearing, the trial court

       did not abuse its discretion in denying respondent-father’s motion to substitute

       counsel.

       B. Motion to Continue

¶ 11         Respondent-father also argues that the trial court abused its discretion when

       it denied his request for a two-hour continuance to take his medication.

                    Ordinarily, a motion to continue is addressed to the
                    discretion of the trial court, and absent a gross abuse of
                    that discretion, the trial court's ruling is not subject to
                    review. If, however, the motion is based on a right
                    guaranteed by the Federal and State Constitutions, the
                    motion presents a question of law and the order of the court
                    is reviewable. . . . Moreover, regardless of whether the
                    motion raises a constitutional issue or not, a denial of a
                    motion to continue is only grounds for a new trial when
                    defendant shows both that the denial was erroneous, and
                    that he suffered prejudice as a result of the error.
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       In re A.L.S., 374 N.C. 515, 516–17, 843 S.E.2d 89, 91 (2020) (cleaned up). Here,

       respondent-father has failed to show that the denial of his motion to delay the hearing

       was erroneous, or that he was prejudiced by the trial court’s denial of his motion.

       Thus, the trial court did not abuse its discretion in denying respondent-father’s

       motion to continue.

          III.   Respondent-Parents’ Parental Rights to the Older Children

¶ 12         Respondent-mother argues that the trial court erred when it terminated her

       parental rights because DSS did not make reasonable efforts to work with her, and

       there was no evidence of lack of fitness as of the termination hearing. We disagree.

       A. Respondent-Mother’s Parental Rights

¶ 13         A court may terminate parental rights if grounds exist under N.C.G.S. § 7B-

       1111(a), and the trial court determines that termination is in the best interest of the

       juvenile. See N.C.G.S. § 7B-1111(a) (2019); N.C.G.S. § 7B-1110(a). Here, the trial

       court determined that grounds existed to terminate respondent-mother’s parental

       rights to the older children pursuant to N.C.G.S. § 7B-1111 (a)(1), (2), and (6).

¶ 14         Grounds for terminating a parent’s rights to a juvenile exist under N.C.G.S. §

       7B-1111(a)(2) when:

                    The parent has willfully left the juvenile in foster care or
                    placement outside the home for more than 12 months
                    without showing to the satisfaction of the court that
                    reasonable progress under the circumstances has been
                    made in correcting those conditions which led to the
                    removal of the juvenile. No parental rights, however, shall
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                   be terminated for the sole reason that the parents are
                   unable to care for the juvenile on account of their poverty.

       N.C.G.S. § 7B-1111(a)(2) (2019).

¶ 15         The trial court made the following unchallenged findings of fact:

                   1.     The Petitioner, the Craven County Department of
                   Social Services, was granted custody of the [older children]
                   by non-secure Custody Orders dated August 24, 2016, and
                   subsequent orders in this matter . . . .

                   ....

                   14.    Regarding the Respondent Mother's level of
                   compliance with the orders of the court for her to facilitate
                   reunification, [as stated earlier in the order]:

                          a.     The Respondent Mother failed to [s]ubmit to
                          a full psychological assessment, to include a
                          substance abuse assessment and a parenting
                          capacity inventory, with an approved and licensed
                          clinician.

                          b.     The Respondent Mother failed to submit to a
                          domestic violence assessment and follow all
                          recommendations. She appeared for the assessment
                          with [respondent-father], and they refused to allow
                          her to be interviewed without him present. As a
                          result, the [a]ssessment could not be completed.

                          c.     The Respondent Mother failed to [s]ubmit to
                          random drug screens immediately upon the request
                          of the Craven County Department of Social Services.
                          She submitted to an initial assessment for drug
                          screen but failed to submit to subsequent drug
                          screens. Drug screens were requested on 1/18/17,
                          1/30/17, 2/16/17, 3/18/17, 3/14/17, 5/25/17, 6/5/17,
                          6/27/17, 7/7/17, 3/13/18, 8/21/17, 1/24/17, 4/3/18,
                          8/29/18, 5/12[/]17, 4/20/18, and she refused to submit
                          to drug screens every time.
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d.   The Respondent Mother failed to submit to
random pill counts and medication monitoring
immediately upon the request of the Craven County
Department of Social Services.

e.     The Respondent Mother failed to execute all
necessary releases such that the Craven County
Department of Social [Services] may access all
medical, mental health and substance abuse records
for the Respondent Parent, until December 2018.

f.     The Respondent Mother failed to attend
parenting referral appointments on the following
dates: 1/22/17, 3/22/17, 7/11/17, 1/13/18, 3/13/18,
1/3/19. She started attending EPIC parenting
classes in April 2018 but did not complete that
parenting program.

g.     The Respondent Mother failed to make the
Craven County Department of Social Services aware
of her residence; however, she did maintain contact
with the social workers to inquire about the minor
children. The Social Worker testified that this was
the Respondent Mother's one strength.

h.     The Respondent Mother failed to submit to a
full     psychological     assessment     and       a
recommendation from a mental health professional
of safety and mental health stability of the
Respondent Mother. The court ordered that visits
would be suspended until the respondents
submitted themselves for a mental health
evaluation due to safety concerns. Therefore, no
visitations or any other communication between the
parents and minor children took place. The
Respondent Parents made repeated requests to visit
since that order of suspension. While the
Respondent Parents have not caused or attempted
to cause any bodily injury to Craven County
Department of [S]ocial [S]ervices staff, they have
made threats of bodily injury against the staff. As a
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                            result, neither Respondent Parent has visited the
                            minor children since September 16, 2016.

                     ....

                     100. The Respondent Parents' inability to make
                     reunification efforts and their inability to care for the
                     minor child is not caused by poverty.

                     ....

                     155. Independent of any other grounds found by this
                     court, the parental rights of the Respondent Parents
                     should be terminated due to the following grounds as set
                     forth in North Carolina General Statutes, Sections 7B-
                     1111(a)(2):

                            a.     Respondent Parents have willfully left the
                            juvenile in foster care or placement outside the home
                            for more than 12 months without showing to the
                            satisfaction of the court that reasonable progress
                            under the circumstances has been made within 12
                            months in correcting those conditions which led to
                            the removal of the juvenile.

¶ 16         Because respondent-mother did not challenge these findings of fact, they are

       binding on appeal. See Koufman v. Koufman, 330 N.C. 93, 97, 408 S.E.2d 729, 731
       (1991). These unchallenged findings of fact support the trial court’s conclusion of law

       that “grounds authorizing Termination of Parental Rights exist” pursuant to

       N.C.G.S. § 7B-1111(a)(2). Further, the trial court found that it was in the best

       interests of the older children that respondent-mother’s parental rights be

       terminated.    Accordingly, because the trial court’s findings of fact support its

       conclusion of law, the trial court did not err when it terminated respondent-mother’s
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       parental rights to the older children pursuant to N.C.G.S. § 7B-1111(a)(2).

¶ 17         Because grounds existed to terminate respondent-mother’s parental rights

       under (a)(2), we need not address the trial court’s order to terminate parental rights

       under subsections (a)(1), (a)(5), or (a)(6). In re J.S., 374 N.C. 811, 815, 845 S.E.2d 66,

       71 (2020) (“an adjudication of any single ground for terminating a parent’s rights

       under N.C.G.S. § 7B-1111(a) will suffice to support a termination order.”).

       B. Respondent-Father’s Parental Rights

¶ 18         The trial court terminated respondent-father’s parental rights to the older

       children under N.C.G.S. § 7B-1111 (a)(1), (2), (5), and (6). With regard to section

       (a)(5), the trial court’s findings of fact relating to establishment of paternity were

       unchallenged by respondent-father.

¶ 19         A trial court may terminate the parental rights of a father under N.C.G.S. §

       7B-1111(a)(5) states:

                    The father of a juvenile born out of wedlock has not, prior
                    to the filing of a petition or motion to terminate parental
                    rights, done any of the following:

                           a.     Filed an affidavit of paternity in a central
                           registry maintained by the Department of Health
                           and Human Services. The petitioner or movant shall
                           inquire of the Department of Health and Human
                           Services as to whether such an affidavit has been so
                           filed and the Department's certified reply shall be
                           submitted to and considered by the court.

                           b.     Legitimated the juvenile pursuant to
                           provisions of G.S. 49-10, G.S. 49-12.1, or filed a
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                          petition for this specific purpose.

                          c.   Legitimated the juvenile by marriage to the
                          mother of the juvenile.

                          d.     Provided substantial financial support or
                          consistent care with respect to the juvenile and
                          mother.

                          e.    Established paternity through G.S. 49-14,
                          110-132, 130A-101, 130A-118, or other judicial
                          proceeding.

       N.C.G.S. § 7B-1111(a)(5) (2019).

¶ 20         Here, respondent-father does not challenge the findings of fact related to

       paternity, and therefore, they are binding on appeal. See Koufman, 330 N.C. at 97,

       408 S.E.2d at 731. Further, respondent-father does not challenge the sufficiency of

       the grounds to terminate his parental rights to the older children pursuant to

       N.C.G.S. § 7B-1111(a)(5), or that termination was in the best interests of the older

       children. Because respondent-father presents no challenge to the sufficiency of these

       grounds, we affirm the trial court’s order terminating respondent-father’s rights to

       the older children under N.C.G.S. § 7B-1111(a)(5).

                   IV.    Respondent-Parents’ Parental Rights to S.B.

¶ 21         The trial court’s order terminated respondent-parents’ parental rights to S.B.

       under N.C.G.S. § 7B-1111(a)(2), (5), and (6).        Again, respondent-father failed to

       challenge the sufficiency of any grounds for termination or the trial court’s best

       interests determination. Therefore, we affirm the order terminating respondent-
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       father’s parental rights to S.B. under N.C.G.S. § 7B-1111(a)(5).

¶ 22         However, respondent-mother argues that the trial court erred when it

       terminated her parental rights to S.B. under N.C.G.S. § 7B-1111(a)(2) and (6).

       Specifically, respondent-mother contends that (1) termination was improper under

       N.C.G.S. § 7B-1111(a)(2) because only 9 months elapsed between the placement by

       DSS and the filing of the termination petition, and (2) the trial court failed to make

       sufficient findings under the (a)(6) standard. We agree.

¶ 23         N.C.G.S. § 7B-1111(a)(2) states:

                    The parent has willfully left the juvenile in foster care or
                    placement outside the home for more than 12 months
                    without showing to the satisfaction of the court that
                    reasonable progress under the circumstances has been
                    made in correcting those conditions which led to the
                    removal of the juvenile. No parental rights, however, shall
                    be terminated for the sole reason that the parents are
                    unable to care for the juvenile on account of their poverty.

       N.C.G.S. § 7B-1111(a)(2).

¶ 24         The plain language of N.C.G.S. § 7B-1111(a)(2) requires the trial court to look

       at the parent’s reasonable progress over a twelve-month period. Because only nine

       months elapsed between the custody order for S.B. and the filing of the termination

       petition, this subsection is inapplicable. Thus, the trial court erred in terminating

       parental rights under N.C.G.S. § 7B-1111(a)(2).

¶ 25         Respondent-mother further contends that the trial court committed reversible

       error when it terminated her parental rights under N.C.G.S. § 7B-1111(a)(6) because
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       the trial court failed to make sufficient findings of fact regarding the lack of

       alternative care arrangements, failed to identify the condition that rendered

       respondent-mother incapable of providing proper care, and failed to make a finding

       that the condition would persist for the foreseeable future.

¶ 26         N.C.G.S. § 7B-1111(a)(6) states:

                    That the parent is incapable of providing for the proper
                    care and supervision of the juvenile, such that the juvenile
                    is a dependent juvenile within the meaning of G.S. 7B-101,
                    and that there is a reasonable probability that the
                    incapability will continue for the foreseeable future.
                    Incapability under this subdivision may be the result of
                    substance abuse, intellectual disability, mental illness,
                    organic brain syndrome, or any other cause or condition
                    that renders the parent unable or unavailable to parent the
                    juvenile and the parent lacks an appropriate alternative
                    child care arrangement.

       N.C.G.S. § 7B-1111(a)(6) (2019).

¶ 27         After a thorough review of the record, we conclude the trial court has not made

       sufficient findings to support the termination of parental rights under N.C.G.S. § 7B-

       1111(a)(6). As respondent-mother notes, the trial court failed to find the absence of

       an acceptable alternative childcare arrangement, did not identify the condition that

       rendered respondent-mother incapable of parenting S.B., and did not address the

       issue of whether respondent-mother’s condition would continue for the foreseeable

       future. Again, while there may be sufficient evidence in the record, the lack of

       sufficient findings compels us to vacate the order terminating parental rights to S.B.,
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       and remand this matter back to the trial court for hearing additional evidence, if

       necessary, and entry of a new order.

                                       V.     Conclusion

¶ 28         The trial court did not abuse its discretion when it denied respondent-father’s

       request to substitute counsel and continue the case for respondent-father to take

       medication.   In addition, we affirm the orders terminating respondent-father’s

       parental rights to the minor children under N.C.G.S § 7B-1111(a)(5). We further

       affirm the orders terminating respondent-mother’s parental rights to the older

       children pursuant to N.C.G.S. § 7B-1111(a)(2). We vacate and remand the order

       terminating respondent-mother’s parental rights to S.B. under N.C.G.S § 7B-

       1111(a)(6) for further proceedings consistent with this opinion.

             AFFIRMED IN PART; VACATED AND REMANDED IN PART.
